Case 1:18-cr-20345-KMW Document 25 Entered on FLSD Docket 08/27/2018 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SO UTHERN DISTRICT OF FLORIDA

                              CaseNo.18-CR-20345-W ILLIAM S(s)
   U NITED STA TES O F AM ERICA

   V*.

   K ENNETH STABLER,
         a/k/a GRichard W hite,''

                 Defendant.
                                      /

                                       PLEA AG REEM ENT

          TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(çtthisOffice''land
   KennethStabler(their efendanf')enterintothefollowingagreement:
                 The Dtfendant agrees to pltad guilty to Counts 1, 2,and 5 of the Superseding

   Indictment,which chargethe D efendantwith bank robbery, in violation ofTitle 18,United States

   Code,Section2113(a)(Counts1and5);andescape,inviolationofTitle18,UnitedStatesCode,
   Section751(a)(Count2).
          2.     ThisOffce agreesto seek dism issalofaIlrem aining countsaftersentencing.

                 The Defendant is aw are that the sentence w ill be im posed by the Court after

   considering the advisory FederalSentencing Guidelinesand Policy Statements(the éisentencing
   Guidelines''). The Defendant acknowledges and understands thatthe Courtwillcompute an
   advisory sentence under the Sentencing Guidelines and thatthe applicable guidelines w illbe

   determ ined by the Courtrelying in parton theresultsofa pre-sentence investigation by the Court's

   probation office,which investigation w illcom m ence afterthe guilty plea has been entered. The

   Defendantisalso aw arethat, undercertain circum stances, the Courtm ay departfrom the advisory
Case 1:18-cr-20345-KMW Document 25 Entered on FLSD Docket 08/27/2018 Page 2 of 5




   Lutlsnotgounztolmposeasentencewlthlnthatadvlsoryrange;theCourtispermittedtotailor
   the ultimate sentence in lightofotherstatutory concerns, and such sentence may beeithermore

   severe or less severe than the Sentencing G uidelines advisory range. Knowing these facts,the

   Defendantunderstandsand acknow ledgesthatthe Courthasthe authority to im pose any sentence
   w ithin and up to the statutory m axim um authorized by Iaw fortheoffensesidentified in paragraph

   l and thatthe Defendantm ay notw ithdraw theplea solely asa resultofthe sentence im posed.

                     TheDefendantunderstandsand acknow ledgesthat, asto Counts 1and 5,the Court

   m ay impose a term of im prisonm entof20 years, followed by a term of supervised release of3

   yearsasto each count,and asto Count2,theCourtm ay im pose aterm ofim prisonm entof5 years,
   followed by a term ofsupervised release of 3 years. ln addition to a term of imprisonm entand

   supervised release,theCourtmay imposeafineofup to $250,000 andorderrestitution asto each
   count.

                     The Defendant further understands and acknow ledges that, in addition to any

   sentence im posed underparagraph 4 ofthisagreem ent, aspecialassessmentintheamountof$100

   percountofconviction,foratotalof$300,willbe imposed on the Defendant. The Deftndant
   agrees that any special assessment imposed shallbe paid at the time of sentencing. If the

   Defendantisfinancially unable to pay the specialassessment, the Defendantagreesto present
   evidenceto thisOffice and theCourtatthe tim e ofsentencing astothereasonsfortheD efendant's

   failure to pay.


                                                   2
Case 1:18-cr-20345-KMW Document 25 Entered on FLSD Docket 08/27/2018 Page 3 of 5




                 This Officereservesthe rightto inform the Courtand the probation office ofall

   factspertinenttothe sentencing process,including allrelevantinform ation concerning thtoffenses

   com m itted,whether charged or not,as wellas concem ing the Defendant and the Defendant's

   background.Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
   contained in this agreem ent,this Office furtherreservesthe rightto m ake any recom m endation as

   to thequality and quantity ofpunishm ent.

                 This Offk e agreesthat itw illrecom m end atsentencing thatthe Courtreduce by

   two levels the Sentencing Guidelines level applicable to the Defendant's offense, pursuant to

   Section 3E1.1(a)ofthe Sentencing Guidelines,based upon the Defendant'srecognition and
   aftirmative and timely acceptance ofpersonalresponsibility. lfatthe tim e of sentencing the

   Defendant'soffense levelisdeterm ined to be 16 orgrtater, thisOftk ewillfileamotionrequesting

   anadditionaloneleveldecreasepursuanttoSection3E1.1(b)oftheSentencingGuidelines,stating
   thatthe Defendanthasassisted authoritiesin thtinvestigation orprosecution oftheDefendant's

   own m isconduct by tim ely notifying authorities of the D efendant's intention to enter a plea of

   guilty,thereby pennitting theUnited Statesto avoidpxeparing fortrialand permittingtheUnited

    States and the Courtto allocate their resources eftk iently. This O ffice, however,willnot be

   requiredtomakethismotionandtheserecommendationsiftheDefendant:(a)failsorrefusesto
   m ake a full, accurate and com plete disclosure to the probation office of the circum stances

    surroundingtherelevantoffenseconduct;(b)isfoundtohavemisrepresentedfactstotheUnited
    Statespriortoenteringintothispleaagreement;or(c)commitsanymisconductafterenteringinto
   thisplea agreement,including butnot lim ited to com m itting a state orfederaloffense, violating
Case 1:18-cr-20345-KMW Document 25 Entered on FLSD Docket 08/27/2018 Page 4 of 5




   any term ofrelease,ormaking falsestatementsorm isrepresentationsto any governm entalentity

   orofficial.

           8.     The D efendantagrees,based on hisconvictions forviolationsofTitle 18,United

   StatesCode,Section 2113(a),ascharged in Counts 1and 5ofthe Superseding Indictment,to
   forfeitalIproperty,realorpersonal,thatconstitutes or is derived from proceedstraceable to the

   offense and aIlproperty used,or intended to be used, in any m anner or part, to com m it,orto

   facilitatethe com m ission ofthatoffense isforfeitableto theUnited States. The Defendantwaives

    allinterestin the above-named property in any administrative orjudicialforfeitureproceeding,
   w hethercrim inalor civil,state orfederal,and also agreesto voluntarily abandon allright, title,

   and interest in the above-nam ed property. The D efendant consents to the entry of orders of

    forfeiture forsuch property and waives the requirements of Rules 32.2 and 43(a)oftheFederal

    RulesofCrim inalProcedure regarding notice oftheforfeiture in the lndictm ent, announcem entof

   theforfeitureatsentencing,andincorporationofthefodkitureinthejudgment. TheDefendant
    adm its and agrees that the conduct described in the Indictm ent and Factual Proffer provide a

    suftk ientfadualand statutory basisfortheforfeitureoftheproperty soughtbytheUnitedStates.

    The Defendantknow ingly and voluntarily w aivesany claim ordefense thathe m ay have underthe

    Eighth A mendm entto the United States Constitution, including any claim ofexcessive fine or

    penalty w ith respectto theforfeited property.
Case 1:18-cr-20345-KMW Document 25 Entered on FLSD Docket 08/27/2018 Page 5 of 5




         9.     Tàis is the entire agreement and understanding between this Office and the

   D efendant. Thereare no otheragreements,prom ises,representations,orunderstandings.

                                           B NJ     G.G REEN BERG
                                           U NIT D TA TES ATTORN EY


   Date:/* 1/                 By:
                                           JES CA KAHN OBEN A UF
                                           AS ISTANT U NITED STATES ATTORN EY

   Date: ç)z,hïs' By:                                  )y '
                                                          1
                                            CHRISTIAN D UN HA M
                                            ATTORN EY FOR DEFEN DA NT


   Date: î?a.
            a 1!? sy: .o
                       f                          ,
                                                  1               .
                                                                  7
                                                                  ,
                                                                  :'4
                                            KEN NETH STA BLER
                                            DEFEN DAN T
